          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 1




                               No. 23-5053

              UNITED STATES COURT OF APPEALS
                   FOR THE SIXTH CIRCUIT

  AMERICAN COLLEGE OF PEDIATRICIANS, on behalf of its members; and
     CATHOLIC MEDICAL ASSOCIATION, on behalf of its members,

                          Plaintiffs-Appellants,

                                    v.

   XAVIER BECERRA, in his official capacity as Secretary of the United
States Department of Health and Human Services; U.S. DEPARTMENT OF
  HEALTH AND HUMAN SERVICES; OFFICE FOR CIVIL RIGHTS OF THE U.S.
 DEPARTMENT OF HEALTH AND HUMAN SERVICES; and LISA J. PINO, in her
  official capacity as Director of the Office for Civil Rights of the U.S.
               Department of Health and Human Services,

                          Defendants-Appellees.

            On Appeal from the United States District Court
          for the Eastern District of Tennessee (Chattanooga)
                        Case No. 1:21-cv-00195


OPENING BRIEF OF APPELLANTS AMERICAN COLLEGE OF
 PEDIATRICIANS AND CATHOLIC MEDICAL ASSOCIATION


John J. Bursch                           Christopher P. Schandevel
Matthew S. Bowman                        Julie Marie Blake
ALLIANCE DEFENDING FREEDOM               ALLIANCE DEFENDING FREEDOM
440 First Street NW, Suite 600           44180 Riverside Pkwy
Washington, DC 20001                     Lansdowne, VA 20176
(202) 393-8690                           (571) 707-4655
jbursch@ADFlegal.org                     cschandevel@ADFlegal.org
mbowman@ADFlegal.org                     jblake@ADFlegal.org
                          Counsel for Appellants
             Case: 23-5053   Document: 16   Filed: 03/30/2023   Page: 2




              CORPORATE DISCLOSURE STATEMENT
     Under Fed. R. App. P. 26.1 and Sixth Circuit R. 26.1(a),

Appellants American College of Pediatricians and Catholic Medical

Association state that they have no parent corporation, they do not

issue stock, they are not a subsidiary or an affiliate of a publicly owned

corporation, and there is no publicly owned corporation or its affiliate,

not a party to this appeal, that has a financial interest in the outcome of

this case.




                                        i
              Case: 23-5053          Document: 16         Filed: 03/30/2023         Page: 3




                                  TABLE OF CONTENTS

Corporate Disclosure Statement ................................................................. i

Table of Authorities ................................................................................... iv

Statement in Support of Oral Argument ................................................... 1

Statement of Jurisdiction ........................................................................... 2

Statement of Issues .................................................................................... 3

Statement of the Case ................................................................................ 4

        A.      ACPeds and CMA ..................................................................... 4

        B.      Section 1557 of the Affordable Care Act prohibits
                discrimination in the provision of healthcare ......................... 5

        C.      HHS issues 2016 Rule adding discrimination based on
                gender identity and sex stereotypes ........................................ 5

        D.      Federal district court permanently enjoins 2016 Rule’s
                addition of discrimination based on gender identity .............. 6

        E.      HHS publishes 2020 Rule removing gender-identity
                mandate .................................................................................... 7

        F.      Two federal district courts enjoin 2020 Rule and revive
                gender-identity mandate ......................................................... 7

        G.      Executive order endorses Bostock’s interpretation of
                sex discrimination; HHS issues Notification
                announcing plans to enforce Section 1557 accordingly .......... 9

        H.      ACPeds and CMA sue to protect their members’ rights ...... 10

        I.      The Government moves to dismiss while refusing to
                disavow intent to enforce gender-identity mandate
                against Plaintiffs’ members ................................................... 15




                                                     ii
               Case: 23-5053          Document: 16         Filed: 03/30/2023         Page: 4




        J.       District court grants motion to dismiss, holding
                 ACPeds and CMA failed to allege “certainly
                 impending” threat of enforcement ......................................... 17

Standard of Review .................................................................................. 20

Summary of the Argument ...................................................................... 20

Argument .................................................................................................. 22

I.      ACPeds and CMA plausibly alleged a substantial risk that
        the gender-identity mandate will be enforced against them. ....... 22

        A.       As the Fifth and Eighth Circuits have already held,
                 providers covered by the gender-identity mandate face
                 a credible threat of enforcement. ........................................... 22

        B.       Sixth Circuit caselaw supports the same result here........... 26

        C.       Because this is a pre-enforcement challenge, all the
                 same factors prove this case is ripe for review. .................... 30

II.     The district court erred because it incorrectly thought this
        Court’s caselaw requires more. ....................................................... 31

        A.       The district court read “substantial risk” out of the
                 caselaw—and that error infected its entire analysis. .......... 31

        B.       The district court thought some combination of the
                 factors listed in McKay was required, but this Court
                 has never required such a showing. ...................................... 34

Conclusion ................................................................................................. 37

Certificate of Compliance ......................................................................... 38

Certificate of Service ................................................................................ 39

Designation of Relevant District Court Documents ............................... 40




                                                     iii
              Case: 23-5053       Document: 16        Filed: 03/30/2023       Page: 5




                             TABLE OF AUTHORITIES
Cases

Abbott Laboratories v. Gardner,
     387 U.S. 136 (1967) ......................................................................... 28

Alexis Bailly Vineyard, Inc. v. Harrington,
      931 F.3d 774 (8th Cir. 2019) ........................................................... 18

Association of American Physicians & Surgeons v. United States Food
     & Drug Administration,
     13 F.4th 531 (6th Cir. 2021)............................................................ 20

Bostock v. Clayton County,
     140 S. Ct. 1731 (2020) ....................................................................... 7

Christian Employers Alliance v. United States Equal Opportunity
     Commission,
     No. 1:21-CV-195, 2022 WL 1573689 (D.N.D. May 16, 2022)......... 18

Citizens for Responsibility & Ethics in Washington v. Trump,
      971 F.3d 102 (2d Cir. 2020) ............................................................. 32

Clapper v. Amnesty International USA,
     568 U.S. 398 (2013) ............................................................. 29, 31, 32

Daly v. McGuffey,
     No. 21-3266, 2021 WL 7543815 (6th Cir. Nov. 15, 2021) .............. 19

Dismas Charities, Inc. v. United States Department of Justice,
    401 F.3d 666 (6th Cir. 2005) ........................................................... 29

Fischer v. Thomas,
     52 F.4th 303 (6th Cir. 2022)............................................................ 35

Franciscan Alliance, Inc. v. Becerra,
     47 F.4th 368 (5th Cir. 2022).................................................... passim

Franciscan Alliance, Inc. v. Burwell,
     227 F. Supp. 3d 660 (N.D. Tex. 2016) ......................................... 6, 18



                                                 iv
              Case: 23-5053       Document: 16        Filed: 03/30/2023       Page: 6




Franciscan Alliance, Inc. v. Burwell,
     414 F. Supp. 3d 928 (N.D. Tex. 2019) ............................................... 6

Green Party of Tennessee v. Hargett,
     791 F.3d 684 (6th Cir. 2015) ........................................................... 26

In re Equifax Inc. Customer Data Security Breach Litigation,
      999 F.3d 1247 (11th Cir. 2021) ....................................................... 32

Kanuszewski v. Michigan Department of Health & Human Services,
    927 F.3d 396 (6th Cir. 2019) ................................................. 3, 31, 33

Kiser v. Reitz,
      765 F.3d 601 (6th Cir. 2014) ..................................................... 20, 30

Lujan v. Defenders of Wildlife,
     504 U.S. 555 (1992) ......................................................................... 28

McKay v. Federspiel,
    823 F.3d 862 (6th Cir. 2016) ..................................................... 19, 34

Meriwether v. Hartop,
     992 F.3d 492 (6th Cir. 2021) ............................................................. 5

National Rifle Association of America v. Magaw,
     132 F.3d 272 (6th Cir. 1997) ..................................................... 28, 29

Northwest Requirements Utilities v. FERC,
     798 F.3d 796 (9th Cir. 2015) ........................................................... 32

Online Merchants Guild v. Cameron,
     995 F.3d 540 (6th Cir. 2021) ............................................... 19, 35, 36

Pelcha v. MW Bancorp, Inc.,
     988 F.3d 318 (6th Cir. 2021) ............................................................. 9

Platt v. Board of Commissioners on Grievances & Discipline of Ohio
      Supreme Court,
      769 F.3d 447 (6th Cir. 2014) ..................................................... 30, 36

Plunderbund Media, L.L.C. v. DeWine,
     753 F. App’x 362 (6th Cir. 2018) ............................................... 19, 35


                                                 v
              Case: 23-5053         Document: 16         Filed: 03/30/2023       Page: 7




Religious Sisters of Mercy v. Azar,
      513 F. Supp. 3d 1113 (D.N.D. 2021) ............................................... 18

Religious Sisters of Mercy v. Becerra,
      55 F.4th 583 (8th Cir. 2022).................................................... passim

Remijas v. Neiman Marcus Group, LLC,
     794 F.3d 688 (7th Cir. 2015) ........................................................... 32

Speech First v. Fenves,
     979 F.3d 319 (5th Cir. 2020) ..................................................... 18, 23

Susan B. Anthony List v. Driehaus,
    573 U.S. 149 (2014) ................................................................. passim

Universal Life Church Monastery Storehouse v. Nabors,
     35 F.4th 1021 (6th Cir. 2022) .................................................... 27, 28

Walker v. Azar,
    2020 WL 6363970 (E.D.N.Y. Oct. 29, 2020) ..................................... 8

Walker v. Azar,
    480 F. Supp. 3d 417 (E.D.N.Y. Aug. 17, 2020) ................................. 8

Whitman-Walker Clinic, Inc. v. HHS,
    485 F. Supp. 3d 1 (D.D.C. 2020) ....................................................... 8

Winter v. Wolnitzek,
     834 F.3d 681 (6th Cir. 2016) ........................................................... 30

Statutes

18 U.S.C. § 1001.................................................................................. 14, 29

18 U.S.C. § 1035.................................................................................. 14, 29

18 U.S.C. § 1347.................................................................................. 14, 29

18 U.S.C. § 1516.................................................................................. 14, 29

18 U.S.C. § 1518.................................................................................. 14, 29

18 U.S.C. § 287.................................................................................... 14, 29


                                                   vi
               Case: 23-5053         Document: 16          Filed: 03/30/2023         Page: 8




18 U.S.C. § 3486.................................................................................. 14, 29

28 U.S.C. § 1291.......................................................................................... 2

28 U.S.C. § 1292.......................................................................................... 2

28 U.S.C. § 1331.......................................................................................... 2

28 U.S.C. § 1346.......................................................................................... 2

28 U.S.C. § 1361.......................................................................................... 2

42 U.S.C. § 1320a-7b .......................................................................... 14, 29

42 U.S.C. § 18116(a) ................................................................................... 5

Other Authorities

HHS Notice and Guidance on Gender Affirming Care, Civil Rights,
    and Patient Privacy, U.S. DEP’T OF HEALTH AND HUMAN SERVS.
    (Mar. 2, 2022) .................................................................................. 36

Press Release, HHS OCR, HHS Announces Prohibition on Sex
     Discrimination Includes Discrimination on the Basis of Sexual
     Orientation and Gender Identity (May 10, 2021) ............................ 9

Rules

Fed. R. App. P. 4(a)(1)(B) ........................................................................... 2

Regulations

45 C.F.R. § 92.301 ............................................................................... 14, 29

45 C.F.R. § 92.4 ........................................................................................... 6

45 C.F.R. § 92.5 ................................................................................... 14, 29

45 C.F.R. §§ 80.6 to 80.11 ................................................................... 14, 29

45 C.F.R. Pt. 81 ................................................................................... 14, 29

81 Fed. Reg. 31,375 (May 18, 2016) ..................................................... 6, 25



                                                     vii
             Case: 23-5053        Document: 16        Filed: 03/30/2023     Page: 9




84 Fed. Reg. 27,846 (June 14, 2019) .......................................................... 7

85 Fed. Reg. 37,160 (June 19, 2020) .......................................................... 7

86 Fed. Reg. 27,984 (May 25, 2021) ............................................... 9, 10, 23

88 Fed. Reg. 7,236 (Feb. 2, 2023) ............................................................. 27

Executive Order 13,988, Preventing and Combating Discrimination
     on the Basis of Gender Identity or Sexual Orientation, 86 Fed.
     Reg. 7023 (Jan. 20, 2021) .................................................................. 9




                                               viii
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 10




       STATEMENT IN SUPPORT OF ORAL ARGUMENT
     Appellants American College of Pediatricians (ACPeds) and

Catholic Medical Association (CMA), each on behalf of its members,

respectfully request oral argument in this appeal. ACPeds and CMA

challenge HHS and OCR’s (collectively the Government’s) imposition of

a federal mandate, through Section 1557 of the Affordable Care Act and

its implementing regulations, requiring their members to perform

gender-transition surgeries, prescribe gender-transition drugs, and

speak and write about patients according to gender identity rather than

biological sex—even when doing so violates their medical judgment or
their sincerely held religious beliefs. Compl., R.15, PageID 126.

     Two circuit courts of appeals—the Fifth and the Eighth Circuits—

have already held that similarly situated plaintiffs faced sufficiently

imminent threatened enforcement of the same gender-identity mandate

to create an ongoing Article III case or controversy. Franciscan Alliance,

Inc. v. Becerra, 47 F.4th 368, 376–77 (5th Cir. 2022); Religious Sisters of
Mercy v. Becerra, 55 F.4th 583, 602–06 (8th Cir. 2022).

     HHS has repeatedly said it is enforcing its mandate nationwide.

Yet the district court here held that ACPeds and CMA lack standing

based on its mistaken belief that this circuit’s standing caselaw

“requires more” than these other circuits. Op., R.61, PageID 1215. Oral

argument is warranted to aid the Court in resolving these important

Article III issues while avoiding creating a circuit split.



                                      1
         Case: 23-5053   Document: 16   Filed: 03/30/2023   Page: 11




                 STATEMENT OF JURISDICTION
     The district court had jurisdiction under 28 U.S.C. §§ 1331, 1346,

and 1361 because ACPeds and CMA raised claims against the federal

government under the Administrative Procedure Act, the First Amend-

ment, the Religious Freedom Restoration Act, and other constitutional

provisions and federal laws. Compl., R.15, PageID 178–204.

     This Court has jurisdiction under 28 U.S.C. § 1291 and 28 U.S.C.

§ 1292 because the district court entered its final order dismissing

Plaintiffs’ first amended complaint in its entirety on November 18,

2022. Op., R.61, PageID 1229. And because some of the parties are
federal officers and agencies, Fed. R. App. P. 4(a)(1)(B), ACPeds and

CMA timely filed their notice of appeal on January 13, 2023. Notice,

R.63, PageID 1231.




                                    2
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 12




                       STATEMENT OF ISSUES
     Under Article III’s injury-in-fact requirement, an alleged future

injury “may suffice if the threatened injury is certainly impending, or

there is a substantial risk that the harm will occur.” Susan B. Anthony

List v. Driehaus, 573 U.S. 149, 158 (2014) (cleaned up). “[C]ertainly

impending . . . does not require literal certainty,” just “a substantial

risk that the harm will occur.” Kanuszewski v. Mich. Dep’t of Health &

Hum. Servs., 927 F.3d 396, 410 (6th Cir. 2019) (cleaned up).

     HHS has repeatedly said it is enforcing a nationwide gender-

identity mandate. But the district court below failed to ask the
substantial-risk question because it thought this Court’s caselaw

“requires more,” namely, an injury that is “certainly impending.” Op.,

R.61, PageID 1215, 1221–22. The Fifth and the Eighth Circuits have

already held that similarly situated plaintiffs face a sufficiently

imminent risk of injury to challenge the same mandate challenged here.

Franciscan Alliance, 47 F.4th at 376–77; Religious Sisters, 55 F.4th at
602–06. The only difference is that the district court here thought it was

required to apply a different Article III test.

     This appeal asks whether the district court erred when it ruled

that ACPeds and CMA do not have standing and, for similar reasons,

have not presented ripe claims for review.1


1ACPeds and CMA do not challenge these rulings as to claims Six and
Seven in their first amended complaint. Compl., R.15, PageID 196–204.


                                      3
         Case: 23-5053   Document: 16   Filed: 03/30/2023   Page: 13




                    STATEMENT OF THE CASE
     A. ACPeds and CMA
     American College of Pediatricians (ACPeds) is a national organi-

zation of pediatricians and other healthcare professionals incorporated

in Tennessee. Compl., R.15, PageID 129. It includes more than 600

physicians and other healthcare professionals from 47 different States,

including Tennessee. Id. Most ACPeds members are board-certified

pediatricians with active practices. Id., PageID 149. And as a secular,

scientific medical association, its membership includes both religious

and non-religious members. Id., PageID 151.

     The Catholic Medical Association (CMA) is the largest association

of Catholic individuals in healthcare. Id., PageID 130. Its membership

includes about 2500 physicians and providers nationwide, including

three member guilds in Tennessee. Id., PageID 130, 156. CMA’s mission

is to inform, organize, and inspire its members to uphold the Catholic

faith in the science and practice of medicine. Id., PageID 156.

     Members of both groups provide medical treatment for patients

who identify as transgender—from setting broken bones, to conducting

physicals, to treating acute and chronic illnesses. Id., PageID 150, 159.

But members of both groups cannot in good conscience perform gender-

transition surgeries, prescribe gender-transition drugs, or speak or

write about their patients according to their patients’ gender identity as

opposed to their biological sex. Id., PageID 126, 150–62.



                                    4
          Case: 23-5053   Document: 16   Filed: 03/30/2023   Page: 14




     B. Section 1557 of the Affordable Care Act prohibits
        discrimination in the provision of healthcare
     Section 1557 of the Affordable Care Act (ACA) states that “any

health program or activity” receiving federal financial assistance shall

not discriminate against an individual in the provision of healthcare

based on one of the grounds identified in certain other federal statutes.

Compl., R.15, PageID 132 (quoting 42 U.S.C. § 18116(a)). It adds that

the “enforcement mechanisms provided for and available under” those

other federal statutes “shall apply for purposes of violations of this

subsection.” Id., PageID 132–33 (quoting 42 U.S.C. § 18116(a)).

     None of the anti-discrimination statutes mentioned in Section

1557 prohibits discrimination based on gender identity. Id., PageID

133. The only one that prohibits discrimination based on sex is Title IX.

Id. And multiple provisions in both the ACA and Title IX show that

Congress understood the word “sex” to mean the biological binary of

male and female—not to encompass the broader, non-binary concept of

gender identity. Id., PageID 133–34. Accord, e.g., Meriwether v. Hartop,

992 F.3d 492, 510 n.4 (6th Cir. 2021) (“Title VII differs from Title IX in

important respects.”).

     C. HHS issues 2016 Rule adding discrimination based on
        gender identity and sex stereotypes
     In 2016, HHS used its rulemaking authority under Section 1557

to promulgate a final rule titled Nondiscrimination in Health Programs

and Activities. Compl., R.15, PageID 134 (citing 81 Fed. Reg. 31,375


                                     5
         Case: 23-5053   Document: 16   Filed: 03/30/2023   Page: 15




(May 18, 2016) (codified at 45 C.F.R. pt. 92)). The Rule interprets
discrimination “on the basis of sex” to also include discrimination based

on gender identity and sex stereotypes, and its preamble specifies

multiple ways in which that new interpretation requires medical
providers to offer gender-identity interventions and procedures, and to

engage in speech that both affirms their patients’ gender identity and

affirms that transition-related procedures and interventions are
medically necessary and appropriate. Id., PageID 134 (citing 81 Fed.

Reg. at 31,467–68 (45 C.F.R. § 92.4)); id., PageID 135–38 (describing

specific examples).

     D. Federal district court permanently enjoins 2016 Rule’s
        addition of discrimination based on gender identity
     In December 2016, a district court issued a preliminary injunction

against the gender-identity mandate under the 2016 Rule. Compl.,

R.15, PageID 138 (citing Franciscan Alliance, Inc. v. Burwell, 227 F.

Supp. 3d 660, 695–96 (N.D. Tex. 2016)). Three years later, the same

court issued final judgment, declaring that the 2016 Rule violated the

Administrative Procedure Act and the Religious Freedom Restoration

Act. Id., PageID 139 (citing Franciscan Alliance, Inc. v. Burwell, 414 F.

Supp. 3d 928, 945 (N.D. Tex. 2019)). The court thus vacated the gender-

identity language from the Rule and remanded the rulemaking to HHS.

Id. (citing Franciscan Alliance, 414 F. Supp. 3d at 945).




                                    6
         Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 16




     E. HHS publishes 2020 Rule removing gender-identity
        mandate
     In 2020, HHS published a final rule that substantially revised the

partially vacated 2016 Rule by removing its gender-identity language

and stating that HHS interprets Section 1557 and Title IX to not

prohibit discrimination based on gender identity. Compl., R.15, PageID

139 (citing Nondiscrimination in Health and Health Education

Programs or Activities, Delegation of Authority. 85 Fed. Reg. 37,160

(June 19, 2020) (to amend and be codified at 45 C.F.R. pt. 92)). The rule

was to go into effect on August 18, 2020.

     HHS explained that the 2016 Rule “exceeded its authority under

Section 1557, adopted erroneous and inconsistent interpretations of

civil rights law, caused confusion, and imposed unjustified and unneces-

sary costs.” Id. (quoting 84 Fed. Reg. 27,846, 27,849 (June 14, 2019)).

More specifically, HHS disavowed its “erroneous” prior position that

declining to provide transition-related procedures or interventions is

“outdated and not based on current standards of care,” explaining that

position as lacking a “scientific and medical consensus to support” it. Id.

(quoting 85 Fed. Reg. at 37,187) (cleaned up).

     F. Two federal district courts enjoin 2020 Rule and revive
        gender-identity mandate
     Shortly thereafter, the Supreme Court issued its decision in

Bostock v. Clayton County, 140 S. Ct. 1731 (June 15, 2020). And before

the 2020 Rule’s changes to the 2016 Rule could go into effect, two


                                     7
          Case: 23-5053   Document: 16   Filed: 03/30/2023   Page: 17




district courts enjoined parts of the 2020 Rule while declaring that some
of the 2016 Rule’s gender-identity mandate remains in effect—with one

of those courts blocking HHS from adding Title IX’s religious exemption

to its 1557 regulations. Compl., R.15, PageID 139 (citing Walker v. Azar,
480 F. Supp. 3d 417 (E.D.N.Y. Aug. 17, 2020), modified by 2020 WL

6363970 (E.D.N.Y. Oct. 29, 2020); Whitman-Walker Clinic, Inc. v. HHS,

485 F. Supp. 3d 1 (D.D.C. 2020)).
     Both courts said they recognized they had no power to undo the

district court’s vacatur in Franciscan Alliance. See Whitman-Walker,

485 F. Supp. 3d at 26; Walker, 480 F. Supp. 3d at 427. But as the Fifth

Circuit later held, “in effect they did just that.” Franciscan Alliance, 47

F.4th at 372. While they “did not directly resurrect the 2016 Rule’s

prohibition on ‘gender identity’ discrimination, they did reanimate the
rule’s ‘sex-stereotyping’ prohibition.” Id. And both “courts further reas-

oned that, in light of Bostock, sex-stereotyping discrimination encom-

passes gender identity discrimination.” Id. at 372–73. Accord Op., R.61,

PageID 1212 (interpreting both cases the same way).

     As a result of Walker and Whitman-Walker, the 2016 Rule’s

gender-identity language, and the implications of that language

described in the 2016 Rule’s preamble, remained in effect at the time

ACPeds and CMA filed their complaint in this case, including the 2016

Rule’s failure to incorporate Title IX’s religious exemption. Compl.,

R.15, PageID 139–40.


                                     8
          Case: 23-5053   Document: 16   Filed: 03/30/2023   Page: 18




     G. Executive order endorses Bostock’s interpretation of
        sex discrimination; HHS issues Notification announ-
        cing plans to enforce Section 1557 accordingly
     On January 20, 2021, immediately upon taking office, President
Biden signed an executive order purportedly applying Bostock and

requiring that Section 1557 and Title IX be interpreted to include

gender identity as a protected trait, while also requiring similar
interpretations of all other federal civil rights laws and promoting

related policies. Compl., R.15, PageID 140 (citing Executive Order

13,988, Preventing and Combating Discrimination on the Basis of

Gender Identity or Sexual Orientation, 86 Fed. Reg. 7023 (Jan. 20,

2021)). (In contrast, the Sixth Circuit has held that “the rule in Bostock

extends no further than Title VII.” Pelcha v. MW Bancorp, Inc., 988

F.3d 318, 324 (6th Cir. 2021).)

     On May 10, 2021, HHS announced that its Office for Civil Rights,

effective immediately, “will interpret and enforce Section 1557’s prohib-
ition on discrimination on the basis of sex to include: (1) Discrimination

on the basis of sexual orientation; and (2) discrimination on the basis

[of ] gender identity.” Compl., R.15, PageID 140–41 (quoting 86 Fed.

Reg. 27,984, 27,985 (May 25, 2021)). HHS also announced, in the same

notice and a press release, that it interprets “sex” in Title IX to include

gender identity. Id., PageID 141 (citing Press Release, HHS OCR, HHS

Announces Prohibition on Sex Discrimination Includes Discrimination

on the Basis of Sexual Orientation and Gender Identity (May 10, 2021),


                                     9
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 19




available at perma.cc/ZM7H-FUBB). The Notification of Interpretation
and Enforcement encouraged members of the public to file complaints if

they thought their civil rights had been violated. 86 Fed. Reg. at 27,985.

     Regarding Section 1557, HHS added that its enforcement activity
would comply with RFRA “and all other legal requirements,” including

the injunctions related to Section 1557’s regulations, but HHS did not

specify how it would respect or accommodate religious or non-religious
objections. Compl., R.15, PageID 141 (quoting 86 Fed. Reg. at 27,985).

     H. ACPeds and CMA sue to protect their members’ rights
     In the wake of Bostock, Walker, Whitman-Walker and President
Biden’s and HHS’s announcements, ACPeds and CMA brought suit in

federal court to protect their members’ rights under the Constitution,

RFRA, and the APA. Compl., R.15, PageID 126–28. As their first

amended complaint explains, due to the Government’s “overreaching

interpretation” of Section 1557, their members faced “an untenable

choice.” Id., PageID 127. They could “either act against their medical

judgment and deeply held convictions by performing controversial and

often medically dangerous gender interventions, or succumb to huge

financial penalties, lose participation in Medicaid and other federal

funding, and, as a practical matter, lose the ability to practice medicine

in virtually any setting.” Id. So injunctive relief was “needed to shield”

members “from the federal government’s penalties that threaten to

drive thousands of doctors out of practice.” Id., PageID 128.


                                     10
            Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 20




     Based on the announcements and notices described above, and
upon information and belief, the complaint alleged that HHS’s Office of

Civil Rights was “actively investigating, enforcing, and implementing

an interpretation of Section 1557 and HHS regulations under which sex
discrimination includes gender identity and sex stereotyping.” Id.,

PageID 141. The Government did “not believe that RFRA or other laws

require[d] any exemptions from the Section 1557 gender identity
mandate.” Id. HHS had “not publicly recognized any RFRA exemption

under its interpretation of Section 1557 except those ordered by a court,

and even in some of those cases HHS [had taken] the position that

RFRA provides no exemption.” Id. And HHS had filed a Statement of

Interest in one case in which it had “cited its Section 1557 authority as

grounds for preempting a state law that protected children from gender
interventions and that protected healthcare providers from providing

them.” Id., PageID 141–42 (citing Statement of Interest of the United

States, Brandt v. Rutledge, No. 4:21-cv-00450-JM (E.D. Ark. June 17,

2021), ECF. No. 19).

     ACPeds and CMA also described how the gender-identity mandate

arising out of Section 1557, the 2016 Rule, HHS’s May 10, 2021 Notice

of Enforcement, and the penalties set out in the 2020 Rule “imposes

tangible, concrete harm for ACPeds and CMA members.” Id., PageID

141, 147.




                                       11
         Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 21




     Specifically, the complaint lists 22 sets of activities and speech
that ACPeds and CMA members object to on medical, ethical, or

religious grounds that the Government now requires:

     a. Prescribing puberty blockers off-label from the FDA-
        approved indication to treat gender dysphoria and initiate
        or further transition in adults and children;
     b. Prescribing hormone therapies off-label from the FDA-
        approved indication to treat gender dysphoria in all
        adults and children;
     c. Providing other continuing interventions to further
        gender transitions ongoing in both adults and minors;
     d. Performing hysterectomies or mastectomies on healthy
        women who believe themselves to be men;
     e. Removing the non-diseased ovaries of healthy women who
        believe themselves to be men;
     f. Removing the testicles of healthy men who believe
        themselves to be women;
     g. Performing “de-gloving” to remove the skin of a man’s
        penis to use it to create a faux vaginal opening;
     h. Removing vaginal tissue from women to facilitate the
        creation of a faux or cosmetic penis;
     i. Performing or participating in any combination of the
        above mutilating cosmetic procedures, or similar
        surgeries, to place a patient somewhere along the socially
        constructed gender identity spectrum;
     j. Offering to perform, provide, or prescribe any and all such
        interventions, procedures, services, or drugs;
     k. Referring patients for any and all such interventions,
        procedures, services, or drugs;



                                    12
         Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 22




     l. Ending or modifying their policies, procedures, and
        practices of not offering to perform or prescribe these
        procedures, drugs, and interventions;
     m. Saying in their professional opinions that these gender-
        intervention procedures are the standard of care, are safe,
        are beneficial, are not experimental, or should otherwise
        be recommended;
     n. Treating patients according to their gender identity and
        not their biological sex;
     o. Stating views on gender interventions they do not share;
     p. Saying that sex or gender is nonbinary or on a spectrum;
     q. Using language affirming self-professed gender identities;
     r. Using patients’ preferred pronouns according to their
        gender identity, rather than using no pronouns or using
        pronouns based on biological sex;
     s. Creating medical records and coding patients and services
        according to gender identity and not biological sex;
     t. Providing the government assurances of compliance,
        providing compliance reports, and posting notices of
        compliance in prominent physical locations if the 2016
        Rule’s interpretation of “sex” governs these documents;
     u. Refraining from expressing medical, ethical, or religious
        views, options, and opinions to patients that disagree with
        gender-identity theory or transitions; and
     v. Allowing patients to access single-sex programs and
        facilities, such as mental health therapy groups,
        breastfeeding support groups, postpartum support groups,
        educational sessions, changing areas, restrooms,
        communal showers, and other single-sex programs and
        spaces, by gender identity and not by biological sex.
Id., PageID 147–49.



                                    13
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 23




     The complaint further alleged that the Government “require[s]
Plaintiffs to provide” the above-listed “objectionable practices” to the

extent the Government deems them to be “within the scope” of ACPeds

and CMA members’ medical practice. Id., PageID 149. This follows from
the fact that most of their members provide medical care in health

programs and activities that receive federal financial assistance from

HHS under 42 U.S.C. § 18116, and they also treat patients who are
members of federal healthcare programs like Medicaid, Medicare, and

CHIP. Id., PageID 129–30, 149, 153–57, 160–62.

     As a result, some ACPeds and CMA members were self-censoring

out of fear of enforcement. Id., PageID 152, 160. Others were continuing

to practice consistent with their views and thus faced the threat of

enforcement penalties. Id. If ACPeds and CMA members “do not abide
by the Section 1557 gender identity mandate, they face losing access to

federal healthcare program funds, potential civil lawsuits from

plaintiffs, and being investigated by HHS’s Office for Civil Rights or the

Attorney General.” Id., PageID 167 (citing 18 U.S.C. § 3486; 45 C.F.R.

§§ 80.6 to 80.11; 45 C.F.R. Pt. 81; 45 C.F.R. §§ 92.5, 92.301). Members

also face the threat of criminal liability “if they do not comply but have

participated or continue to participate in federal programs,” or if they

fail to provide evidence of compliance required by an investigation. Id.,

PageID 167–68 (citing 18 U.S.C. §§ 287, 1001, 1035, 1347, 1516, 1518;

42 U.S.C. §§ 1320a-7b(a), 1320a-7b(c)).


                                     14
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 24




     The burdens of being investigated for alleged violations of Section
1557—or being subjected to reviews concerning such compliance—are

harsh, imposing significant costs of time, money, attorney fees, and

diversion of resources. Id. And by the time they filed their complaint,
some ACPeds and CMA members had already spent “time and money

training staff, issuing guidance, and engaging in public education

campaigns to mitigate the confusion caused by the mandate.” Id.,
PageID 168.

     I.   The Government moves to dismiss while refusing to
          disavow intent to enforce gender-identity mandate
          against Plaintiffs’ members
     In response to ACPeds and CMA’s lawsuit, the Government

moved to dismiss, arguing that ACPeds and CMA did not have standing

(or present a ripe controversy) because they were seeking to “challenge

the lawfulness of a position that HHS has not taken.” MTD Memo in
Supp., R.52, PageID 1108 (emphasis added). Noting that HHS had

“taken the consistent position in litigation that the 2016 Rule’s gender

identity provisions are no longer in effect,” and had “not taken any

action to enforce those provisions since their vacatur,” the Government

asserted that ACPeds and CMA could “suffer no injury from a rule that

has been vacated and that HHS is not enforcing.” Id., PageID 1110

(emphasis added).




                                     15
         Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 25




     As those quotes show, though, throughout their motion-to-dismiss
brief, the Government repeatedly couched its position in the past or

present tense. See, e.g., id. (HHS “has not taken any action”), id. (“HHS

is not enforcing”), id., PageID 1111–12 (“HHS has not taken the legal
position”), id., PageID 1114 (“HHS has not imposed” the mandate). For

example, they highlighted the fact that “HHS has never enforced

Section 1557 to revoke the funding of a provider for failure to provide
gender transition services.” Id., PageID 1119 (emphasis added).

     At the same time, the Government refused to disavow that it

would take such enforcement action in the future—effectively conceding

that it might. For example, the Government claimed that if it “were to

decide at some point to pursue action against Plaintiffs, Plaintiffs would

still be many steps removed from losing federal funding.” Id., PageID
1117 (emphasis added). It also conceded it had filed motions in other

courts asking to modify injunctions to “clarify that HHS would not

violate [them] if it took action against an entity without knowing that it

was a member of the plaintiff organization.” Reply, R.57, PageID 1176

n.2 (emphasis added). Until then, though, the Government insisted that

ACPeds and CMA’s “claimed injuries hinge on the contingency that

HHS will take a legal position it has not yet taken and bring enforce-

ment actions that HHS has not yet brought.” MTD Memo in Supp., R.52,

PageID 1113 (emphasis added). So ACPeds and CMA lacked standing

and had failed to present a ripe controversy. Id., PageID 1108–19.


                                    16
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 26




     J.   District court grants motion to dismiss, holding
          ACPeds and CMA failed to allege “certainly impending”
          threat of enforcement
     After canceling oral argument on the Government’s motion to
dismiss, Order, R.58, PageID 1184, the district court granted the

motion and dismissed ACPeds and CMA’s complaint in its entirety on

standing and ripeness grounds. Op., R.61, PageID 1189–1229.
     Relevant here, the court applied the Supreme Court’s three-part

test for assessing whether a plaintiff bringing a pre-enforcement suit

has satisfied Article III’s injury-in-fact requirement. Id., PageID 1211–

26. That test asks whether a plaintiff alleges (1) “an intention to engage

in a course of conduct arguably affected with a constitutional interest”

but (2) arguably “proscribed by a statute,” and (3) “there exists a

credible threat of prosecution thereunder.” Id., PageID 1211 (quoting

SBA List, 573 U.S. at 159).

     On the first and second prongs of that test, the district court
agreed ACPeds and CMA had plausibly alleged they intend to engage in

conduct “arguably protected” by the Constitution and “arguably pro-

scribed” by “HHS’s operative Section 1557 regulations,” which “at least

arguably bar discrimination against transgender patients as a form of

sex discrimination under the statute,” and by subsequent court

decisions interpreting Bostock to mean that Title IX’s definition of sex

discrimination includes gender-identity discrimination. Id., PageID

1211–14. So the court proceeded to consider the third prong.


                                     17
         Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 27




     The court began its credible-threat-of-prosecution analysis by
surveying “other circuits’ jurisprudence” in response to Plaintiffs’

argument that it was “not plausible that [their] doctors lack standing to

bring a challenge that was successful in three other courts.” Id., PageID
1214 (cleaned up). The district court noted that three cases in the Fifth

and Eighth Circuits found standing in indistinguishable circumstances.

Id. (citing Franciscan Alliance, 227 F. Supp. 3d at 678–80; Religious
Sisters of Mercy v. Azar, 513 F. Supp. 3d 1113, 1133 (D.N.D. 2021);

Christian Emps. All. v. U.S. Equal Opportunity Comm’n, No. 1:21-CV-

195, 2022 WL 1573689 (D.N.D. May 16, 2022)). But the district court

believed that under this Court’s standing jurisprudence, “the issue of

whether there exists a credible threat of prosecution[ ] bears consider-

able differences from the Fifth and the Eighth Circuit’s.” Id.
     The Fifth Circuit, for example, recognizes Article III standing

based on a “substantial” threat of future enforcement. Id., PageID

1214–15 (citing Speech First v. Fenves, 979 F.3d 319, 336–38 (5th Cir.

2020). And the Eighth Circuit has found a credible threat of enforce-

ment “when a course of action is within the plain text of a statute.” Id.,

PageID 1215 (quoting Alexis Bailly Vineyard, Inc. v. Harrington, 931

F.3d 774, 778 (8th Cir. 2019)). Based on the district court’s survey of

this Court’s caselaw, it concluded that the “Sixth Circuit requires

more.” Id.




                                    18
          Case: 23-5053   Document: 16     Filed: 03/30/2023   Page: 28




      Partially quoting an unpublished opinion, the court reasoned that,
in this circuit, a “plaintiff ’s intended course of action falling within the

plain text of a non-moribund statute, ‘does not amount to a ‘credible

threat’ of prosecution” because “‘the threat of prosecution must be
certainly impending.’” Id. (quoting Daly v. McGuffey, No. 21-3266, 2021

WL 7543815, at *2–3 (6th Cir. Nov. 15, 2021)). “In fact,” the court

continued, “the Sixth Circuit applies a factor test, first articulated in
McKay v. Federspiel, 823 F.3d 862 (6th Cir. 2016) and known as the

‘McKay factors,’” to decide whether an alleged threat “is credible.” Id.

      Citing the only two cases from this Court that have ever used the

phrase “McKay factors,” the court posited that plaintiffs “must” show

“some combination” of the factors to prove a credible threat. Id., PageID

1216 (citing and quoting Online Merchs. Guild v. Cameron, 995 F.3d
540, 550 (6th Cir. 2021), and Plunderbund Media, L.L.C. v. DeWine, 753

F. App’x 362, 366, 372 (6th Cir. 2018)). And because ACPeds and CMA

had not made that showing, they failed to show that their alleged injury

was “certainly impending.” Id., PageID 1221. Finally, HHS had

promised to comply with RFRA and similar laws, and the existence of

such a “vague exemption” by which ACPeds and CMA were “arguably

protected” cut against their standing arguments. Id., PageID 1222–26.2


2 For similar and “overlap[ping]” reasons, the court also found in a
footnote that Plaintiffs’ “claims are unripe as much as they lack
standing.” Id., PageID 1222–23 n.5.


                                      19
          Case: 23-5053    Document: 16    Filed: 03/30/2023   Page: 29




                          STANDARD OF REVIEW
     This Court “review[s] de novo a district court’s grant of a motion to

dismiss for lack of subject matter jurisdiction.” Kiser v. Reitz, 765 F.3d

601, 606 (6th Cir. 2014). In this appeal, that means the Court “must

take the material allegations of the complaint as true and construe

them in the light most favorable” to ACPeds and CMA. Id. (cleaned up).

And because this is an associational-standing case, the Court must

accept “as true the complaint’s factual allegations (as opposed to its

legal conclusions),” and ask whether ACPeds and CMA have “assert[ed]

a plausible claim that one of [their] members has standing.” Ass’n of
Am. Physicians & Surgeons v. U.S. Food & Drug Admin., 13 F.4th 531,

544 (6th Cir. 2021) (cleaned up).


                  SUMMARY OF THE ARGUMENT
     This marks the third time in two years that a pre-enforcement

challenge to the gender-identity mandate arising out of Section 1557’s

ban on sex discrimination has come before a federal court of appeals for

a decision on whether plaintiff healthcare-providers face a credible

threat that the mandate will be enforced against them. See Franciscan

Alliance, 47 F.4th at 376–77; Religious Sisters, 55 F.4th at 602–06. So

far in the Fifth and the Eighth Circuits, the healthcare providers have

gone two-for-two. Franciscan Alliance, 47 F.4th at 376–77; Religious

Sisters, 55 F.4th at 605–06.




                                      20
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 30




     This appeal asks whether the Sixth Circuit’s standing caselaw
“requires more” than these other circuits, requiring a different outcome

here. Op., R.61, PageID 1215. It does not. ACPeds and CMA plausibly

alleged the same substantial risk of harm that made for justiciable
controversies in the Fifth and Eighth Circuits. And under this Circuit’s

caselaw, that was enough for Article III standing here, too.

     The district court conceded that ACPeds and CMA plausibly
alleged that their members intend to engage in conduct “arguably

protected” by the Constitution and proscribed by “HHS’s operative

Section 1557 regulations.” Op., R. 61, PageID 1211–14. Those

regulations do not contain a religious exemption—by design. And the

Government has repeatedly refused to disavow an intent to enforce

them against ACPeds’ and CMA’s members. By refusing to disavow,
they have conceded that they might. And vague promises to comply

with RFRA are not enough to negate that threat.

     The district court came to a different conclusion by applying a

different test. Rather than asking whether ACPeds and CMA had

plausibly alleged a “substantial risk” of harm, the court only asked

whether they had established that an injury was “certainly impending.”

And the court applied that requirement as if it necessitated something

close to literal certainty, which this Court and the Supreme Court have

both said it does not require. The Court should reject the Government’s

invitation to create a circuit split and reverse.


                                     21
         Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 31




                              ARGUMENT
I.   ACPeds and CMA plausibly alleged a substantial risk that
     the gender-identity mandate will be enforced against them.
     A. As the Fifth and Eighth Circuits have already held,
        providers covered by the gender-identity mandate face
        a credible threat of enforcement.
     Just last August, the Fifth Circuit Court of Appeals held that

three groups of private religious healthcare providers faced a suffi-

ciently credible and ongoing threat of enforcement from HHS’s gender-
identity mandate to prevent the case from becoming moot after the 2020

Rule vacated the only portions of the 2016 Rule that the providers had

challenged in their complaint. Franciscan Alliance, 47 F.4th at 374
n.26, 376–77.

     Though that case was decided on mootness grounds, the court

invoked its standing jurisprudence to support its decision. Id. at 376–

77.3 First, the court affirmed the lower court’s conclusion that the

injunctions in Walker and Whitman-Walker, the 2020 Rule, and the

2021 Notification “combined to threaten [the providers] in the same way
that the challenged portions of the 2016 Rule did.” Id. at 376. And HHS

had doubled down on its expressed intent to enforce the mandate more

recently. Id. (citing a 2022 Notice warning covered entities that refusing
to offer gender-reassignment surgeries violates Section 1557).


3See also id. at 376 n.40 (explaining that “if there is an ongoing dispute
giving a plaintiff standing, the case is not moot”).


                                    22
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 32




     Second, the court observed that HHS had “repeatedly refused to
disavow enforcement against Franciscan Alliance.” Id. On appeal, it had

simply said that it had “not to date evaluated” whether it would enforce

Section 1557 against the providers. Id. And the court read that as a
concession “that it may.” Id. The Fifth Circuit had “repeatedly held that

plaintiffs have standing in the face of similar prosecutorial indecision,”

including one case where the city had “not yet determined its position”
on a charter’s enforceability, and another where the defendant had

“vaguely promised to not enforce the challenged policies contrary to the

First Amendment.” Id. at 376–77 (cleaned up).

     In that second case, Speech First, Incorporated v. Fenves, the Fifth

Circuit had “held that the plaintiffs had standing to bring suit because

they were within the ‘class whose [conduct] is arguably restricted,’ and
the defendant’s promise was so vague that the scope of liability was

both ‘unknown by the [defendant] and unknowable to those regulated

by it.’” Id. at 377 (quoting Speech First, 979 F.3d at 338). So too in

Franciscan Alliance: the Fifth Circuit found HHS’s promise that it

would “comply with the Religious Freedom Restoration Act . . . and all

other legal requirements” to be similarly vague and deficient. Id.

(quoting 86 Fed. Reg. at 27,985). As a result, the court held that the

providers’ RFRA claim was not moot, leaving the district court’s vacatur

of portions of the 2016 Rule in effect. Id.




                                     23
          Case: 23-5053   Document: 16     Filed: 03/30/2023   Page: 33




     Four months later, the Eight Circuit Court of Appeals relied on
the Fifth Circuit’s reasoning in Franciscan Alliance to support its own

conclusion that a group of similarly situated healthcare providers had

“standing to challenge the government’s interpretation of Section 1557.”
Religious Sisters, 55 F.4th at 606.

     There, the Eighth Circuit began its analysis by laying out two key

principles from the U.S. Supreme Court’s decision in SBA List: First, an
“individual need not be ‘subject to a threat, an actual arrest, prosecu-

tion, or other enforcement action to challenge the law.’” Id. at 602

(quoting SBA List, 573 U.S. at 158) (cleaned up). And second, “[p]re-

enforcement review is permissible ‘under circumstances that render the

threatened enforcement sufficiently imminent.’” Id. at 603 (quoting SBA

List, 573 U.S. at 159).
     Next, the Eighth Circuit discussed and applied the Fifth Circuit’s

reasoning in Franciscan Alliance, finding it “instructive” and supportive

of its own conclusion that the plaintiffs “suffered an injury-in-fact from

the government’s interpretation of Section 1557.” Id. at 603, 605.

     First, the court rejected the government’s argument that the

plaintiffs lacked standing because the 2020 Rule “rescinded” the 2016

Rule. Id. at 605. The Eighth Circuit “agree[d] with the Fifth Circuit that

‘the district court injunctions, the 2020 Rule, and the 2021 Notification

combined to threaten the plaintiffs in the same way that the challenged

portions of the 2016 Rule did.’” Id. (cleaned up).


                                      24
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 34




      Second, the court rejected the government’s argument that the
plaintiffs lacked an injury because the government had “not to date

taken a position on whether plaintiffs’ conduct violates the relevant

statutes and [had] not threatened any enforcement action against
plaintiffs.” Id. (quoting the government’s brief ). Like the Fifth Circuit

concluded, that assertion was “actually a concession that it may do so.”

Id. (cleaned up). And just as in Franciscan Alliance, where HHS had
repeatedly refused to disavow enforcement against the plaintiffs there,

“so, too, [had] it refused in the present case.” Id.

      Third, the court observed that HHS had declined to import Title

IX’s religious exemption into Section 1557 when it issued the 2016 Rule.

Id. (citing 81 Fed. Reg. at 31,380). Accord Compl., R.15, PageID 139–40,

143 (noting same lack of exemption). And though the government
claimed it would “comply” with RFRA, that promise was too “vague”

and “unknown” and “unknowable” to make a difference. Religious

Sisters, 55 F.4th at 606 (quoting Franciscan Alliance, 47 F.4th at 377).

      “Finally, the government [could not] identify a long history of

nonenforcement against the plaintiffs and others like them.” Id. “To the

contrary, the plaintiffs [had] cited enforcement activity in the years

prior to the filing of the operative complaint suggesting that the rule

[was] likely to be enforced against them.” Id. “For these reasons,” the

Eighth Circuit held that the plaintiffs had “standing to challenge the

government’s interpretation of Section 1557.” Id.


                                     25
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 35




     B. Sixth Circuit caselaw supports the same result here.
     The Fifth and Eighth Circuit’s conclusions apply equally here

under this Court’s caselaw. First, as the district court correctly held,

ACPeds and CMA plausibly alleged that their members intend to

engage in conduct “arguably protected” by the Constitution and

“arguably proscribed” by “HHS’s operative Section 1557 regulations.”

Op., R.61, PageID 1211–14. Accord Religious Sisters, 55 F.4th at 605

(agreeing with the Fifth Circuit about the “combined” threat posed).
     Second, just like in Franciscan Alliance and Religious Sisters, the

Government here has “repeatedly refused to disavow enforcement

against” ACPeds’ and CMA’s members. Franciscan Alliance, 47 F.4th at
376; accord Religious Sisters, 55 F.4th at 605. And that by itself has

been enough to establish standing here in the Sixth Circuit.

     For example, in Green Party of Tennessee v. Hargett, this Court

held that the plaintiffs “sufficiently established that they suffered an

injury” due to a loyalty-oath, ballot-access statute. 791 F.3d 684, 696

(6th Cir. 2015). The defendants had argued there was “no evidence that

the statute [had] been, or would be, enforced.” Id. at 695. But that was

not enough to negate the credible threat of enforcement because they

had not “explicitly disavowed enforcing it in the future.” Id. at 696. “In

such situations, the Supreme Court has held that plaintiffs have stand-

ing to challenge statutes.” Id. So this Court did “the same” and found

that the plaintiffs had standing without requiring anything more. Id.



                                     26
         Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 36




     Third, HHS’s decision not to import Title IX’s religious exemption
into Section 1557 through the 2016 Rule (which it still lacks due to the

Whitman-Walker injunction) bolsters the credible threat of enforcement.

Religious Sisters, 55 F.4th at 605; Compl., R.15, PageID 139–40, 143.
     This Court has relied on such “surrounding factual circumstances”

to “show that a fear of prosecution is plausible.” Universal Life Church

Monastery Storehouse v. Nabors, 35 F.4th 1021, 1034 (6th Cir. 2022). In
Universal Life Church, legislative history “reinforce[d] the inference”

the legislature had tried to target the plaintiffs. Id. at 1034–35. HHS’s

refusal to include an exemption supports a similar inference here.

     That inference in Universal Life Church, combined with (1) the

plaintiff being “able and ready” to violate the statutes and (2) the defen-

dants failing to provide “clear assurances” they would not prosecute
him, was enough to give the minister—and his church—“standing to

seek injunctive and declaratory relief.” Id. at 1034–36. So too here.

     Notably, even if the Government had incorporated a religious

exemption into its mandate, ACPeds would still have standing. ACPeds

represents doctors who oppose facilitating gender transitions for

religious and non-religious reasons. Compl., R.15, PageID 151. So its

members with non-religious reasons for objecting to the gender-identity

mandate would not be protected by any such religious exemption.4

4Accord 88 Fed. Reg. 7,236, 7,243 (Feb. 2, 2023) (distinguishing and
refusing to honor non-religious objections under a different mandate).


                                    27
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 37




     Fourth, the Government here remains unable to “identify a long
history of nonenforcement against the plaintiffs and others like them.”

Religious Sisters, 55 F.4th at 606. That mattered in Universal Life

Church, too, where the defendants could not show the amendment in
question had come anywhere close to “fall[ing] into desuetude” through

years of voluntary nonenforcement. 35 F.4th at 1035. Nor was there any

evidence showing “that prosecutors [had] deliberately turned a blind
eye” to violations. Id. at 1036. And that is equally true here.

     Finally, the standing analysis is made even easier here by the

regulatory context. There “is ordinarily little question” that standing

exists where an entity is the “object of the [challenged] action,” such as

when an injury arises from the government regulating an entity. Lujan

v. Defs. of Wildlife, 504 U.S. 555, 561 (1992). And so “courts have
routinely found sufficient adversity between the parties to create a

justiciable controversy when suit is brought by the particular plaintiff

subject to the regulatory burden imposed by a statute.” Nat’l Rifle Ass’n

of Am. v. Magaw, 132 F.3d 272, 282 (6th Cir. 1997).

     Entities are the object of a regulation (1) when “the regulation is

directed at them in particular”; (2) when “it requires them to make

significant changes in their everyday business practices”; and (3) when,

“if they fail to observe the [new] rule they are quite clearly exposed to

the imposition of strong sanctions.” Abbott Lab’ys v. Gardner, 387 U.S.

136, 153–54 (1967). ACPeds’ and CMA’s members satisfy these criteria.


                                     28
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 38




     First, as the district court essentially conceded, the Government’s
mandate is directed at ACPeds’ and CMA’s members because they

provide medical care in health programs that receive federal financial

assistance and treat patients who are members of federal healthcare
programs. Compl., R.15, PageID 129–30, 149, 153–57, 160–62.

     Second, the mandate requires them to make significant changes in

their practices. Id., PageID 147–49. And some have spent “time and
money training staff, issuing guidance, and engaging in public educa-

tion campaigns to mitigate the confusion caused by the mandate.” Id.,

PageID 168. Accord Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414 n.5

(2013) (standing can be based on a “substantial risk” of harm that “may

prompt plaintiffs to reasonably incur costs to mitigate or avoid” it).

     Third, if ACPeds and CMA members cannot in good conscience
comply with the mandate, they face losing access to federal funding,

and they expose themselves to potential civil lawsuits from plaintiffs

and an investigation by HHS’s Office for Civil Rights or the Attorney

General. Id., PageID 167 (citing 18 U.S.C. § 3486; 45 C.F.R. §§ 80.6 to

80.11; 45 C.F.R. Pt. 81; 45 C.F.R. §§ 92.5, 92.301). They also could face

criminal liability. Id., PageID 167–68 (citing 18 U.S.C. §§ 287, 1001,

1035, 1347, 1516, 1518; 42 U.S.C. §§ 1320a-7b(a), 1320a-7b(c)). “Thus,

they are the proper parties to bring suit.” Magaw, 132 F.3d at 282.5

5 See also Dismas Charities, Inc. v. U.S. Dep’t of Just., 401 F.3d 666, 677
(6th Cir. 2005) (finding standing to bring notice-and-comment claim).


                                     29
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 39




      C. Because this is a pre-enforcement challenge, all the
         same factors prove this case is ripe for review.
      For all the same reasons, ACPeds and CMA’s claims are ripe for

review. There cannot be “standing without ripeness in preenforcement

challenges.” Winter v. Wolnitzek, 834 F.3d 681, 687 (6th Cir. 2016). So

the “line between Article III standing and ripeness” in these cases “has

evaporated.” Id. That’s because a “plaintiff meets the injury-in-fact

requirement—and the case is ripe—when the threat of enforcement of

that law is ‘sufficiently imminent,’” Platt v. Bd. of Comm’rs on Griev-

ances & Discipline of Ohio Sup. Ct., 769 F.3d 447, 451 (6th Cir. 2014)

(cleaned up), as it is here.

      Stated differently, whether ACPeds and CMA “have standing and

whether their claims are ripe come to the same question: Have they

established a credible threat of enforcement?” Winter, 834 F.3d at 687.6

For all the reasons described above, the “answer [here] is yes.” Id. So

both groups have plausibly alleged both standing and ripeness.7




6 Accord Religious Sisters, 55 F.4th at 608 (addressing ripeness in terms
of standing because, in these cases, “standing and ripeness essentially
boil down to the same question”) (cleaned up); Kiser, 765 F.3d at 607
(taking the same approach while noting that the Supreme Court has
“cast into some doubt . . . the long-established prudential aspects of the
ripeness doctrine,” specifically “hardship to the parties and fitness of
the dispute for resolution”).
7 ACPeds and CMA’s claims would be ripe even applying all three
traditional ripeness factors. See Religious Sisters, 55 F.4th at 608.


                                     30
          Case: 23-5053    Document: 16    Filed: 03/30/2023   Page: 40




II.   The district court erred because it incorrectly thought this
      Court’s caselaw requires more.
      A. The district court read “substantial risk” out of the
         caselaw—and that error infected its entire analysis.
      By failing to apply the Sixth Circuit caselaw discussed above, the

district court erred in concluding that ACPeds and CMA “have not

established standing as to their claims.” Op., R.61, PageID 1226. And

that error flowed directly from how it described the test for deciding

whether a credible threat of enforcement exists. Id., PageID 1215.

      In Clapper, the Supreme Court held that a “speculative chain of

possibilities [did] not establish that [an] injury based on potential
future surveillance [was] certainly impending,” and thus the plaintiffs

there did not have standing. 568 U.S. at 414. In a footnote, the Court

“clarified that this does not require ‘literal[ ] certain[ty]’ but at least a
‘substantial risk’ that the harm will occur.” Kanuszewski, 927 F.3d at

410 (quoting Clapper, 568 U.S. at 414 n.5). And the very next Term, the

Supreme Court stated the test in the disjunctive: “An allegation of
future injury may suffice if the threatened injury is ‘certainly

impending,’ or there is a ‘substantial risk’ that the harm will occur.”

SBA List, 573 U.S. at 158 (emphasis added) (cleaned up) (quoting

Clapper, 568 U.S. at 414 n.5).

      In the years since the Court decided Clapper, multiple courts of

appeals have made the same point this Court made in Kanuszewski. See

In re Equifax Inc. Customer Data Sec. Breach Litig., 999 F.3d 1247,


                                      31
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 41




1262 (11th Cir. 2021) (“It need not be ‘literally certain’ that the injury
will come about, but there must be a ‘substantial’ risk.”) (quoting

Clapper, 568 U.S. at 414 n.5); Nw. Requirements Utils. v. FERC, 798

F.3d 796, 805 (9th Cir. 2015) (“A future injury need not be ‘literally
certain,’ but there must be a ‘substantial risk’ that it will occur.”)

(quoting Clapper, 568 U.S. at 414 n.5); Remijas v. Neiman Marcus Grp.,

LLC, 794 F.3d 688, 693 (7th Cir. 2015) (explaining that Clapper “did not
jettison the ‘substantial risk’ standard”).

     And the Supreme Court’s more recent “holdings make clear that

certainty of impending injury is not necessary to establish Article

III jurisdiction.” Citizens for Resp. & Ethics in Wash. v. Trump, 971

F.3d 102, 140 (2d Cir. 2020) (emphasis added).

     But the district court here never asked whether ACPeds and CMA
plausibly alleged a “substantial risk” of enforcement. Indeed, the phrase

“substantial risk” never appears once in the entirety of the court’s 41-

page opinion. The closest the court came was in describing the Fifth

Circuit’s standing caselaw. Op., R.61, PageID 1214–15 (describing a

case in which the threat of future enforcement had been “substantial”).

But that was right before the court explained that it thought that “the

Sixth Circuit requires more.” Id., PageID 1215.

     The rest of the court’s opinion—assessing for an alleged injury

that was “certainly impending”—thus reads as though the court was

looking to see whether ACPeds and CMA had established to a “literal


                                     32
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 42




certainty” that the harm they alleged would necessarily occur,
Kanuszewski, 927 F.3d at 410 (cleaned up), contrary to this Court’s and

the Supreme Court’s numerous contrary cases and in conflict with

multiple circuits.
     For example, requiring a plaintiff to point to “some combination”

of the factors listed in McKay would make more sense under a literal-

certainty requirement. Op., R.61, PageID 1216. So too for the court’s
assertion that a plaintiff “must allege” that the “same conduct” has

resulted in prior enforcement. Id., PageID 1217. It also would help

explain the court’s belief that a lengthy enforcement process minimizes

the risk of harm rather than adding to it. Id., PageID 1219. And it

might explain the court’s insistence that HHS’s refusal to take “any

position, whatsoever, on enforcement against these Plaintiffs” somehow
“does not amount to a refusal to disavow enforcement.” Id., PageID

1220–21 (cleaned up). Finally, a literal-certainty requirement might

justify the court’s position that the existence of a “vague exemption”

precludes plaintiffs from having “standing until the exemption has been

interpreted so as not to protect them.” Id., PageID 1222.

     But none of those conclusions are supported by this Court’s

caselaw. And none of the various showings described above that the

district court thought ACPeds and CMA were required to make are

actually required to plausibly allege a “substantial risk” that the harm

will occur. SBA List, 573 U.S. at 158.


                                     33
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 43




     B. The district court thought some combination of the
        factors listed in McKay was required, but this Court
        has never required such a showing.
     Relatedly, the district court’s misreading of this Court’s decision
in McKay also seems to have led the court astray. Op., R.61, PageID

1215–22. The district court thought this Court’s use of a “factor test,

first articulated in McKay,” sets it apart from the other circuits and
raises the bar for plaintiffs bringing pre-enforcement suits in the Sixth

Circuit. Id., PageID 1215. That’s wrong on multiple levels.

     For one thing, unlike the district court, McKay correctly stated the

test for deciding whether a credible threat of enforcement exists: “The

Supreme Court has recognized that an allegation of future injury may

satisfy the injury-in-fact requirement if the alleged threatened injury is

certainly impending, or there is a substantial risk that the harm will

occur.” McKay, 823 F.3d at 867 (cleaned up). So McKay does not justify

reading the substantial-risk language out of the caselaw.
     For another, McKay did not purport to be creating a new required

showing of “some combination” of the factors it listed to prove standing

in this circuit. Contra Op., R.61, PageID 1216. It merely observed that

the Court has “found a credible threat of prosecution where plaintiffs

allege a subjective chill and point to some combination” of those factors.

McKay, 823 F.3d at 869. But merely saying that showing some combin-

ation of those factors has been sufficient to prove standing is different

from saying it’s necessary.


                                     34
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 44




     In the years since McKay was decided, this Court has never said
that a plaintiff “must” show “some combination” of the factors listed in

McKay to state a credible threat of enforcement—at least not in a

published opinion. But see Plunderbund Media, 753 F. App’x at 372
(“Because Plaintiffs have not established any McKay factor to substan-

tiate their allegation of subjective chill, Plaintiffs have not established a

credible threat of prosecution.”).
     Indeed, the Court has only used the phrase “McKay factors” twice,

once in a published opinion and once in an unpublished opinion. See

Online Merchants, 995 F.3d at 550; Plunderbund Media, 753 F. App’x at

372. And in Online Merchants, the Court used the phrase while explain-

ing that the “factors are not exhaustive, nor must each be established.”

995 F.3d at 550. Quite the opposite, the Court has recognized that “a
variety of facts can demonstrate a credible threat of enforcement.”

Fischer v. Thomas, 52 F.4th 303, 307 (6th Cir. 2022) (per curiam). And

the factors listed in McKay are merely “four commonly recurring

factors” that this Court has highlighted in some of its cases. Id.

     As this Court’s decisions in cases like Universal Life Church show,

the Court does not always use these same factors when it decides

whether a plaintiff has shown or plausibly alleged a credible threat of

enforcement. The Court in Universal Life Church did not even cite

McKay. Nor did it need to.




                                     35
          Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 45




     None of that is to say the district court was right in concluding
ACPeds and CMA failed to plausibly allege “some combination” of the

factors in McKay. Op., R.61, PageID 1216. Those factors include “(1) a

history of past enforcement against the plaintiffs or others; (2) enforce-
ment warning letters sent to the plaintiffs regarding their specific

conduct; (3) an attribute of the challenged statute that makes enforce-

ment easier or more likely, such as a provision allowing any member of
the public to initiate an enforcement action; and (4) the defendant’s

refusal to disavow enforcement of the challenged statute against a

particular plaintiff.” Online Merchants, 995 F.3d at 550 (cleaned up).

     The first, third, and fourth factors are all met here. Compl., R.15,

PageID 140–42, 167–68; MTD Memo in Supp., R.52, PageID 1108,

1110–12, 1113–14, 1117, 1119. And HHS has confirmed that the agency
“‘is investigating and, where appropriate, enforcing Section 1557’ in

‘cases involving discrimination on the basis of . . . gender identity.’”

Franciscan Alliance, 47 F.4th at 374 (quoting HHS Notice and Guid-

ance on Gender Affirming Care, Civil Rights, and Patient Privacy, U.S.

DEP’T OF HEALTH AND HUMAN SERVS. (Mar. 2, 2022), perma.cc/LX26-

59QR). As for the second factor, this Court “has held there to be

standing for a pre-enforcement challenge without any warning letter or

similar specific correspondence whatsoever.” Online Merchants, 995

F.3d at 551 (citing Platt, 769 F.3d at 452). Nothing in this Court’s

caselaw justifies creating the circuit split the decision below invites.


                                     36
         Case: 23-5053   Document: 16     Filed: 03/30/2023   Page: 46




                            CONCLUSION
     This Court should reverse the district court’s decision dismissing

claims One through Five of the first amended complaint and remand

the case for further proceedings.


Dated: March 30, 2023
                                    Respectfully submitted,

                                     s/Christopher P. Schandevel
                                    Christopher P. Schandevel
                                    Julie Marie Blake
                                    ALLIANCE DEFENDING FREEDOM
                                    44180 Riverside Pkwy
                                    Lansdowne, VA 20176
                                    (571) 707-4655
                                    cschandevel@ADFlegal.org
                                    jblake@ADFlegal.org

                                    John J. Bursch
                                    Matthew S. Bowman
                                    ALLIANCE DEFENDING FREEDOM
                                    440 First Street NW, Suite 600
                                    Washington, DC 20001
                                    (202) 393-8690
                                    jbursch@ADFlegal.org
                                    mbowman@ADFlegal.org

                                    Counsel for Appellants




                                     37
         Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 47




                          FRAP 32(g)
                 CERTIFICATE OF COMPLIANCE
     This brief complies with the word limit of Fed. R. App. P.

32(a)(7)(B) because this brief contains 8,231 words, excluding parts of

the brief exempted by Fed. R. App. P. 32(f) and 6 Cir. R. 32(b).

     This brief complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6)

because this brief has been prepared in Word 365 using a proportionally

spaced typeface, 14-point Century Schoolbook.


Dated: March 30, 2023
                            s/Christopher P. Schandevel
                            Christopher P. Schandevel
                            Counsel for Appellants




                                    38
         Case: 23-5053   Document: 16    Filed: 03/30/2023   Page: 48




                    CERTIFICATE OF SERVICE
     I hereby certify that on March 30, 2023, I electronically filed the

foregoing brief with the Clerk of the Court for the United States Court

of Appeals for the Sixth Circuit using the appellate CM/ECF system. I

certify that all participants in the case are registered CM/ECF users,

and that service will be accomplished by the CM/ECF system.


                            s/Christopher P. Schandevel
                            Christopher P. Schandevel
                            Counsel for Appellants




                                    39
         Case: 23-5053    Document: 16    Filed: 03/30/2023   Page: 49




                  DESIGNATION OF RELEVANT
                 DISTRICT COURT DOCUMENTS
     Under Sixth Circuit Rules 28(b)(1)(A)(i) and 30(g), Appellants

American College of Pediatricians and Catholic Medical Association

designate the following district court documents as relevant:

 Record Entry                 Description                 Page ID # Range

       15            First Amended Complaint                    126–210

      15-1                Complaint Exhibit 1                   211–610

      15-2                Complaint Exhibit 2                    612–39

       51                  Motion to Dismiss                    1086–87

       52           Memorandum in Support of                   1088–1125
                       Motion to Dismiss

       55          Memorandum in Opposition to                  1131–69
                       Motion to Dismiss

       56                  Plaintiffs’ Notice of                1170–71
                         Supplemental Authority

       57         Reply Memorandum in Support                   1172–83
                       of Motion to Dismiss

       58                   Order Canceling                       1184
                            Oral Argument

       61                Memorandum Opinion                    1189–1229
                           Dismissing Case

       62                   Judgment Order                        1230

       63                   Notice of Appeal                    1231–32




                                     40
